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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MARYLAND

                                             *
In re:
                                             *
TUFAIL & ASSOCIATES, LLC                            Case No. 21-14153-MCR
                                             *      Chapter 7
         Debtor
                                             *

*        *        *       *    *      *      *      *      *       *      *       *      *

                         REPORT OF DEPOSIT OF UNCLAIMED FUNDS

         Pursuant to Federal Rule of Bankruptcy Procedure 3011 and 11 U.S.C. 347, the Trustee

herein submits a check payable to U.S. Bankruptcy Court in the amount of $4,632.21

representing unclaimed funds to be deposited by the Clerk of Court into the Treasury of the

United States. Said Funds are subject to withdrawal as provided by 28 U.S.C. 2042 and shall not

escheat under any state law. The unclaimed funds represent the dividend(s) due and payable to:

                                                                              DISBURSEMENT
POC #        CREDITOR (last known address)       CLAIM AMOUNT                    AMOUNT___

02-B     WCP Fund I LLC                             $554,464.66                  $ 4,632.21
         c/o The Verstandig Law Firm LLC
         1452 W. Horizon Ridge Pkwy, #665
         Henderson, Nevada 89012


                                             Respectfully Submitted,

                                             ROSE & ASSOCIATES, LLC


                                             /s/ Cheryl E. Rose
                                             Cheryl E. Rose, #05934, Chapter 7 Trustee
                                             9812 Falls Road, #114-334
                                             Potomac, MD 20854
                                             (301) 527-7789
                                             trusteerose@aol.com
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of August, 2024, I reviewed the Court’s
CM/ECF system and it reports that an electronic copy of the foregoing Report of Deposit for
Unclaimed Funds will be served electronically by the Court’s CM/ECF system on the
following:

   •   William R. Feldman wfeldman@wfeldmanlaw.com, acurtis@wfeldmanlaw.com
   •   David J Kaminow david.kaminow@montgomerycountymd.gov,
       davkam50west@gmail.com; r41400@notify.bestcase.com;
       kaminow.davidj.b116840@notify.bestcase.com
   •   Stephen A. Metz smetz@offitkurman.com, mmargulies@offitkurman.com
   •   Richard Rogers rrogers@cgd-law.com, bankruptcyecf@cgd-law.com;estamas@cgd-
       law.com;bbush@cgd-law.com
   •   Cheryl E. Rose trusteerose@aol.com, crose@ecf.axosfs.com
   •   Jordan M. Spivok jspivok@psclaw.net
   •   Lisa Yonka Stevens lisa.y.stevens@usdoj.gov
   •   Diana C. Theologou dtheologou@mtglaw.com
   •   William Scott Tinney scott@cohenandformanlaw.com
   •   US Trustee - Greenbelt USTPRegion04.GB.ECF@USDOJ.GOV
   •   Maurice Belmont VerStandig mac@mbvesq.com, lisa@mbvesq.com;
       mahlon@dcbankruptcy.com; mac@dcbankruptcy.com;
       verstandig.mauricer104982@notify.bestcase.com; verstandiglaw@recap.email

       I HEREBY FURTHER CERTIFY that on this 21st day of August, 2024, a copy of the
foregoing Report of Deposit for Unclaimed Funds was also mailed first class mail, postage
prepaid to following:

United States Bankruptcy Court
ATTN: Finance Department
101 West Lombard Street
Baltimore, MD 21201

Eric Weissman
Keller Williams Legacy
1515 Reisterstown Road, Suite 200
Baltimore, MD 21208



                                           /s/ Cheryl E. Rose
                                           Cheryl E. Rose, Chapter 7 Trustee
